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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
ARI WEITZNER and ARI WEITZNER,
M.D., P.C., Individually and on Behalf of           CIVIL ACTION NO. 3:11-CV-02198
All Others Similarly Situated,

      Plaintiffs,                                   (JUDGE CAPUTO)

              v.

SANOFI PASTEUR, INC., formerly
known as AVENTIS PASTUER, INC.,
and, VAXSERVE, INC., formerly known
as VACCESS AMERICAN, INC.,

     Defendants.

                                       ORDER
    NOW, this 6th day of September, 2017, IT IS HEREBY ORDERED that:
    (1)     Defendants’ Motion to Strike the November 26, 2016 Declaration of Ari
            Weitzner, M.D. (Doc. 143) is DENIED.
    (2)     Defendants’ Motion to Strike Plaintiffs’ Answer to Defendants’ Statement of
            Facts (Doc. 145) is GRANTED in part and DENIED in part.
    (3)     Defendants’ Motion for Summary Judgment is GRANTED.
    (4)     Plaintiffs’ Motion for Class Certification is DENIED as moot.
    (5)     Judgment is ENTERED in favor of Defendants and against Plaintiffs.
    (6)     The Clerk of Court is directed to mark this case as CLOSED.


                                                 /s/ A. Richard Caputo
                                                 A. Richard Caputo
                                                 United States District Judge
